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                              EXHIBIT 1
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                                                                                     Case No.: 21-60125-CIV-SCOLA/GOODMAN

AO 187 (Rev. 7/87) Exhibit List




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

JIANGMEN BENLIDA PRINTED
CIRCUIT CO., LTD.,
                                                                                JOINT EXHIBIT LIST
vs.

CIRCUITRONIX, LLC                                                Case No.: 21-60125-CIV-SCOLA/GOODMAN
           PRESIDING JUDGE                           PLAINTIFF’S ATTORNEY                        DEFENDANT’S ATTORNEY

           Hon. Robert N. Scola, Jr.                 Jean-Claude Mazzola                         Stephen F. Rosenthal
                                                     Richard E. Lener                            Matthew P. Weinshall
                                                                                                 Christina H. Martinez
           TRIAL DATE (S)                            COURT REPORTER                              COURTROOM DEPUTY


           October 10, 2023                          Tammy Nestor                                Jacob Hasbun
                                                                                                            EXPECT
JOINT      PLF.      DEF.         DATE      MARKED   ADMITTED               DESCRIPTION OF EXHIBITS         VS.      OBJ.
NO.        NO.       NO.          OFFERED                                                                   MAY
                                                                                                            USE
                                                                11-21-17 email from Tracy to Akshay
    1
                                                                re: Debit Memos for your reference
                                                                6-8-16 Debit Memo – penalty for lead
    2                                                           time exceedances for PO’s for January
                                                                2016
    3                                                           1-14-16 email from Tracy to Rishi re:                Δ-R/UP
                                                                Payment Details for BLD for CTX-HK
                                                                (Jan. 1, 2015)
    4                                                           Payment Detail                                       Δ-R/UP


    5                                                           Benlida 2017 Reconciliation Statement                Δ-R/UP
                                                                Spreadsheet (created by Nicole and
                                                                Todor)
    6                                                           11-29-19 email from                                  Δ-R/UP
                                                                accounting@benlida.com to
                                                                Nicole/Rishi re: CTX, USA Payment
                                                                reconciliation from 1st of April, 2012
                                                                until present for BLD & ROK.
                                                                Attachment: “No records DM list”
    7                                                           Missing Invoice Spreadsheet (2012-
                                                                2014)
    8                                                           Spreadsheet of CTX debit memos to                    Δ-R/UP
                                                                ROK

                                                                                                           Page 1 of 12 Pages
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9                                       12-2-19 email from
                                        accounting@benlida.com to
                                        Nicole/Rishi re: CTX, USA Payment
                                        reconciliation from 1st of April, 2012
                                        until present for BLD & ROK.
                                        Attachment: “CTX missing inv. (with
                                        BLD and ROK), …”
10                                      1-10-18 monthly statement from                    Δ-R/UP
                                        Benlida & ROK to CTX & CTX-HK

11                                      Reconciliation spreadsheet                        Δ-R/UP


12                                      6/17/14 CTX-HK Purchase Order                     Δ-R/UP
13                                      8-19-14CTX Purchase Order
14                                      7-29-16 email from Honkit Cho (CTX-               Δ-R/UP
                                        HK) to Tracy re: CTX-HK Aug. 1,
                                        2016 Payment details for Jiangmen
                                        BLD Printed Circuit Company Limited
15                                      8-1-16 Payment Detail (CTX-HK)                    Δ-R/UP
16                                      7-1-16 Payment Detail (CTX-HK)                    Δ-R/UP
17                                      7-10-16 email Honkit Cho (CTX-HK)                 Δ-R/UP
                                        to Tracy re: CTX-HK July 1, 2006
                                        payment details for Jiangmen BLD
                                        Printed Circuit Company Limited
18                                      Dec. 13-14, 2016 Meeting Minutes
19                                      10-20-17 Meeting Minutes
20                                      March 3-9, 2018 Meeting Minutes
21                                      3-1-12 Manufacturing &
                                        Representation Agreement
22                                      6-8-16 email from Tracy to Rishi re:              Δ-R/UP
                                        penalty for lead-time exceedances –
                                        BLD (CTX-HK) & ROK (CTX-HK);
                                        email from Honkit Cho to Tracy with
                                        lead-time penalties
23                                      Spreadsheet for Lead-Time                         Δ-R/UP
                                        Exceedances for Jan. 2016 Orders
                                        (CTX-HK)
24                                      6-18-16 email from Tracy to Nicole re:
                                        Penalty for Lead-Time Exceedances-
                                        ROK & BLD Jan 2016 Orders
25                                      3-21-17 Notice from “Jiangmen
                                        Benlida Group” to CTX & CTX-HK
26                                      3-17-18- Meeting Minutes
27                                      2014 Business Authorization letter                Δ-R/UP
28                                      4-30-16 email from Tracy to Todor re:
                                        pls use these when doing your
                                        numbering comparing [re: 2015
                                        records]
                                                                                 Page 2 of 12 Pages
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29                                      1-1-15 CTX payment detail, with BLD
                                        comments (attachment to Ex. 28 email)
30                                      Oct. 2015 Benlida monthly statement                 Δ-R/UP
                                        to CTX
31                                      8-2015 Benlida monthly statement to
                                        CTX (dated 9-6-15)
32                                      7-13-16 email from Tracy to Sourabh
                                        re: procedure for calculating leadtime
                                        exceedance penalty (includes Rishi to
                                        Sourabh email from 6-21-2016)
33                                      6-21-16 email from Rishi to Sourabh
                                        Procedure for Calculating Lead-Time
                                        exceedance Penalty
34                                      5-12-16 email from Tracy to Rishi re:
                                        ROK & BLD 5-1-16 Payment Details
                                        (comments re calculation of leadtime
                                        penalty)
35                                      12-2-15 email from ROK pcb re: ROK
                                        & BLD Sch date we will put off totally
                                        at least 35 days. Pls give your priority
36                                      12-3-15 email from Tracy to Rishi re:
                                        ROK & BLD Sch date will be put off
                                        totally at least 35 days. Pls give your
                                        priority
37                                      12-2-15 email Rishi to Tracy re:
                                        Penalty for Lead Time exceedances-
                                        BLD (CTX-HK) ; Douglas email that
                                        BLD can’t keep up production
38                                      11-16-15 email re: New PO# BEN-
                                        B1503541-X66 for P/N: P01V04 1131
                                        for 600 pieces
39                                      3-15-12 email from Douglas to Rishi                 Δ-R/UP
                                        re: signing new agreement and
                                        withdrawing lawsuit
40                                      8-2-16 email attaching 2016 Letter
                                        Agreement
41                                      2-29-16 email from Tracy to Rishi re:
                                        Feb. 25, 2016 Meeting minutes
42                                      7-28-16 email from Tracy to Rishi re:
                                        July 25, 2016 Meeting minutes
43                                      12-19-16 email from Rishi to Tracy re:
                                        price increase (and Dec. 14, 2016
                                        meeting)
44                                      12-19-16 email from Tracy to Rishi re:
                                        price increase (and Dec. 14, 2016
                                        meeting)
45                                      12-26-16 email from Tracy to Rishi re:
                                        Dec. 14, 2016 Meeting minutes

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46                                      1-6-17 email from Rishi to Tracy re:
                                        Dec. 14, 2016 Meeting minutes
47                                      1-9-17 email from Tracy to Rishi re:
                                        Dec. 14, 2016 Meeting minutes
48                                      10-22-17 email from Tracy to Rishi
                                        Oct. 19-20, 2017 Meeting minutes
49                                      10-31-17 email from Rishi to Tracy re:
                                        Oct. 20, 2017 Meeting minutes
50                                      11-2-17 email from Rishi to Tracy re:
                                        Oct. 20, 2017 Meeting minutes
51                                      11-3-17 email from Tracy to Rishi re:
                                        Oct. 20, 2017 Meeting minutes
52                                      11-7-17 email from Tracy to Rishi re:
                                        Oct. 20, 2017 Meeting minutes
53                                      2-23-18 email from Tracy to Rishi re:
                                        Feb. 7, 2018 meeting with Akshay
                                        Koul
54                                      2-24-18 email from Tracy to Rishi re:
                                        meeting agenda list - 2018 Miami
55                                      3-9-18 email from Tracy to Rishi re:
                                        March 2018 Meeting minutes in Miami
56                                      3-10-18 email from Tracy to Rishi re:
                                        sheets mentioned during March 2018
                                        meeting in Miami
57                                      4-5-18 email from Rishi to Tracy re:
                                        price increase up to Jan & Feb 2018,
                                        attaching minutes of March 17, 2018
                                        meeting in Benlida
58                                      3-21-18 email from Tracy to Rishi
                                        attaching minutes of March 17, 2018
                                        meeting in Benlida
59                                      3-26-18 email from Tracy to Rishi re:
                                        reconciliation 2017 statement
60                                      1-16-19 email from Tracy to Rishi re:
                                        Meeting Minute Conference Call on
                                        Jan. 16, 2019
61                                      10-5-18 email from Tracy to Rishi re:             Δ-R/UP
                                        “Authorization for Payment Entrust –              π -R/UP
                                        important!”
62                                      Third Amended Complaint                           Δ-R/UP
63                                      5-23-23 Benlida’s Interrogatory                   Δ-H
                                        Responses
64                                      6-28-16 email from Douglas to Rishi               Δ-R/UP
                                        re: 2015 invoice discrepancy
65                                      11-21-16 email from Tracy to Rishi re:            Δ-R/UP
                                        payment need in Nov., attaching BLD
                                        payment details


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66                                      2-26-15 email from Todor to Benlida
                                        re: March 1, 2015 Payment Details
                                        (December 2014 invoices) & bank slips
67                                      5-12-16 email from Tracy to Rishi re:
                                        pls use these when doing number
                                        comparing [attaching invoice
                                        differences through Oct. 2015]
68                                      5-21-17 email from Tracy to Rishi
                                        attaching photo of white board
                                        recapping May 17, 2017 discussion
69                                      5-31-19 email from Tracy to Rishi                 Δ-R/UP
                                        attaching photo of whiteboard
                                        recapping March 2018 meeting in
                                        Miami
70                                      7-29-19 email from Tracy to Rishi
                                        responding to Rishi’s email to Douglas
71                                      7-14-16 email from Douglas to Rishi               Δ-
                                        re: secondary agreement; bank having              R/UP;
                                        discovered ROK is lying                           MIL
                                                                                          (DE
                                                                                          198)
                                                                                          (#7)
                                                                                          (1390)

                                                                                          π-
                                                                                          I/R/UP
72                                      7-5-16 email from Douglas to Rishi re:            Δ-
                                        bank froze ROK’s account                          R/UP;
                                                                                          MIL
                                                                                          (DE
                                                                                          198)
                                                                                          (#7)
                                                                                          (1379)

                                                                                          π-
                                                                                          I/R/UP
73                                      3-27-17 email from Tracy to Rishi re:             π-
                                        Tax department check – requesting                 I/R/UP
                                        payment
74                                      12-9-18 email from Roger Wu to Rishi              Δ-R/UP
                                        attaching “BLDROK SHIPMENTS
                                        1207” (BLD’s analysis of shipment
                                        amounts through Oct. 2018)
75                                      12-2-18 email from Tracy to Rishi re:             Δ-R/UP
                                        shipment payment, pls feedback
                                        [attaching Payment Request memo
                                        (CTX_4356-59]



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76                                      3-16-19 email from Tracy to Rishi re:                Δ-R/UP
                                        BLD payments
                                        [reconciliation discussion showing 12-
                                        1-16 to 3-9-19 records]
77                                      6-19-19 email from Tracy to Rishi re:                Δ-R/UP
                                        shipment payment (6-19-19 update
                                        after reconciliation)                                π -R/UP
78                                      8-1-19 email from Tracy to Rishi re:                 Δ-R/UP
                                        Final Payment Reconciliation for CTX,
                                        HKG, CTX, USA & ROK                                  π-I
79                                      11-14-19 email from
                                        accounting@benlida.com to Rishi,
                                        Akshay, et al. re: CTX, USA Payment
                                        reconciliation from 1st of April, 2012
                                        until present for BLD & ROK
80                                      Sinosure Claim Form (CTX, LLC)                       π–
                                                                                             I/R/UP
81                                      Sinosure Claim Form (CTX-HK)                         Δ-R/UP

                                                                                             π–
                                                                                             I/R/UP
82                                      6-7-18 email from Tracy to Rishi re:
                                        wire transfer of USD200K                             π-
                                                                                             R/UP
83                                      Ms. Chen’s Excel Spreadsheet “CTX                    Δ-R/UP
                                        Unpaid Invoices, 2020 December” –
                                        “Received Payments” Tab
84                                      Ms. Chen’s Excel Spreadsheet “CTX                    Δ-R/UP
                                        Unpaid Invoices, 2020 December” –
                                        “Received Payments” Tab - 2018 -
                                        excerpt
85                                      9-6-18 email from Nicole Donaldson to
                                        Tracy re: BLD Payment Detail & bank
                                        slips for your reference - June 2018
                                        invoices
86                                      4-29-19 email from Tracy to Rishi re:                Δ-R/UP
                                        BLD payments, attaching “Benlida
                                        reconciliation with CTX 0316.xlsx”                   π–I
87                                      11-22-19 email from                                  Δ-R/UP
                                        accounting@benlida.com to Rishi re:
                                        CTX, USA Payment reconciliation
                                        from 1st of April, 2012 until present for
                                        BLD & ROK, attaching “Benlida
                                        Shipment & Payment Details CTX-HK
                                        2012-2019.xlsx,” etc.
88                                      12-4-19 email from                                   Δ-R/UP
                                        accounting@benlida.com to Rishi re:
                                        CTX, USA Payment reconciliation
                                        from 1st of April, 2012 until present for
                                                                                    Page 6 of 12 Pages
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                                        BLD & ROK, attaching missing
                                        invoice details
89                                      12-4-19 email from                                 Δ-R/UP
                                        accounting@benlida.com to Nichole
                                        Donaldson & Rishi re: CTX, USA
                                        Payment reconciliation from 1st of
                                        April, 2012 until present for BLD &
                                        ROK
90                                      12-4-19 email                                      Δ-R/UP
                                        accounting@benlida.com to Nichole
                                        Donaldson & Rishi re: CTX, USA
                                        Payment reconciliation from 1st of
                                        April, 2012 until present for BLD &
                                        ROK
91                                      1-12-20 email from                                 Δ-R/UP
                                        accounting@benlida.com to Sinosure,
                                        attachments include 2019 email                     π-
                                        reconciled with CTX & Cash                         I/R/UP
                                        transaction email after risk occurred
92                                      6-29-18 email from Nichole Donalson
                                        to Tracy re: “Benlida Payment Details
                                        & Bank slips for your reference - April
                                        2018 Invoice”s (Marked up by Ms.
                                        Chen)
93                                      8-1-2018 email from Nichole Donalson
                                        to Tracy re: “Benlida Payment Detail &
                                        Bank Slips for your reference - May
                                        2018 Invoices” (Marked up by Chen)
94                                      10-18-19 email from Tracy to Rishi re:             Δ-R/UP
                                        Lead Time Penalty for 3-2019
95                                      11-13-19 email from Tracy to Rishi re:
                                        Lead Time Penalty for BLD for May
                                        2019 - Benlida feedback
96                                      12-30-16 email from Tracy to Rishi re:
                                        Minutes of Meeting with BLD on
                                        December 14, 2016
97                                      11-30-16 email from Tracy to Rishi re:             Δ-R/UP
                                        payment in Nov -- update as per CTX
                                        accounting number
98                                      3-4-19 email from Nichole to Melonnie
                                        Rhoden re: Benlida Payment Detail &
                                        Bank Slips for your reference -
                                        November 2018 invoices
99                                      3-6-19 email from Melonnie Rhoden to
                                        Tracy re: Benlida Payment Detail &
                                        Bank Slips for your reference -
                                        December 2018 invoices
100                                     4-12-19 email from Melonnie Rhoden
                                        to Tracy re: Benlida Payment Detail &
                                                                                  Page 7 of 12 Pages
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                                        Bank Slips for your reference - January
                                        2019 invoices
101                                     5-1-19 email from Melonnie Rhoden to
                                        Tracy re: Benlida Payment Detail &
                                        Bank Slips for your reference -
                                        February 2019 invoices
102                                     6-4-19 email from Melonnie Rhoden to
                                        Tracy re: Benlida Payment Detail &
                                        Bank Slips for your reference - March
                                        2019 invoices
103                                     7-8-19 email from Nichole Donaldson
                                        to Tracy re: Benlida Payment Detail &
                                        Bank Slips for your reference - April
                                        2019 invoices
104                                     8-1-19 email from Melonnie Rhoden to
                                        Tracy re: Benlida Payment Detail &
                                        Bank Slips for your reference - May
                                        2019 invoices
105                                     9-5-19 email from Melonnie Rhoden to
                                        Tracy re: Benlida Payment Detail &
                                        Bank Slips for your reference - June
                                        2019 invoices
106                                     10-4-19 email from Melonnie Rhoden
                                        to Tracy re: Benlida Payment Detail &
                                        Bank Slips for your reference - July
                                        2019 invoices
107                                     3-16-19 email from Tracy to Rishi re:
                                        Benlida payments
108                                     8-26-16 email from Tracy to Rishi re:              Δ-R/UP
                                        Update payment number—correct one
109                                     11-3-2016 email from Tracy to Rishi                Δ-R/UP
                                        re: payment need in Nov.
110                                     11-17-16 email from Tracy to Rishi re:             Δ-R/UP
                                        payment need in Nov.
111                                     11-17-16 email from Tracy to Rishi re:             Δ-R/UP
                                        payment need in Nov
112                                     3-16-19 email from Rishi to Tracy re:              Δ-R/UP
                                        Belinda payments
113                                     5-19-19 email from Tracy to Rishi re:
                                        cash flow issue
114                                     5-30-23 CTX’s Supplemental Answers
                                        to 1st set Interrogatories
115                                     5-22-19 email from Melonnie Rhoden
                                        to Tracy re: Belinda Statement
                                        Reconciliation April 2019
116                                     10-1-16 CTX Payment Detail for ROK                 Δ-R/UP
117                                     7-29-16 email from Honkit Cho to                   Δ-R/UP
                                        Tracy re: Payment details for Benlida
                                        (CTX-HK)
                                                                                  Page 8 of 12 Pages
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118                                     7-10-16 email from Honkit Cho to                     Δ-R/UP
                                        Tracy re: Payment details for Benlida
                                        (CTX-HK)
119                                     6-8-16 email from Tracy to Rishi re:                 Δ-R/UP
                                        Penalty for Lead time exceedances -
                                        BLD (CTX-HK) & ROK (CTX-HK)
120                                     11-1-19 email from Rishi to Douglas                  Δ-R/UP
                                        re: CTX, USA payment reconciliation
                                        from 1st of April, 2012 until present for
                                        BLD & ROK
121                                     7-29-19 email from Rishi to Douglas                  Δ-R/UP
                                        re: Final Payment Reconciliation for
                                        CTX, HKG, CTX, USA & ROK
122                                     12-4-14 email from Todor to Tracy re:
                                        Dec. 2, 2014 payment detail for
                                        Benlida in the amount of $5,821.01
123                                     2-2-15 email from Todor to Tracy re:                 Δ-R/UP
                                        Benlida Payment Detail & bank slip as
                                        proof of payment/ROK bank slip
                                        (attaching Benlida Payment Details
                                        Jan. 1 and Feb. 1, 2015)
124                                     2-26-15 email from Todor to Tracy re:
                                        Payment Detail & Bank slip as proof of
                                        payment (attaching Benlida Payment
                                        Details March 1, 2015)
125                                     4-27-15 email from Todor to Tracy re:                Δ-R/UP
                                        Payment Detail & bank slip (attaching
                                        ROK payment details for March 2014 –
                                        April 2015)
126                                     8-31-16 email from Rishi to Tracy re:                Δ-R/UP
                                        update payment number - correct one
127                                     3-27-17 email from Rishi to Tracy re:
                                        invoice discrepancy analysis update
128                                     9-1-16 CTX Payment Detail
129                                     Benlida’s outside auditor’s
                                        Confirmation of Balances to CTX,
                                        LLC for 2017
130                                     Benlida’s outside auditor’s                          Δ-R/UP
                                        Confirmation of Balances to CTX-HK
                                        for 2017
131                                     6-3-19 email from                                    Δ-R/UP
                                        accounting@benlida.com to Rishi, et
                                        al. re: Confirmation for Audit Purposes
                                        (attaching Benlida’s outside auditor’s
                                        Confirmation of Balances for 2018)
132                                     7-31-20 email from                                   Δ-R/UP
                                        accounting@benlida.com to Rishi, et
                                        al. re: Confirmation for Audit Purposes

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                                        (attaching Benlida’s outside auditor’s
                                        Confirmation of Balances for 2019)
133                                     2015 Benlida monthly statements to                 Δ-R/UP
                                        CTX (Jan – Dec.)
134                                     Screenshot of Chinese Tax Authority                π–
                                        Portal                                             I/R/H/U
                                                                                           P
135                                     Screenshot of Communications with                  π-
                                        Chinese Customs Bureau                             I/R/H/U
                                                                                           P
136                                     9-9-21 email dated re: Statement of                Δ-R/UP
                                        Aug. 2021
136                                     8-21 Benlida monthly statement to
A                                       CTX
136                                     9-9-21 Benlida monthly statement to
B                                       CTX
136                                     8-21 Benlida monthly statement to                  Δ-R/UP
C                                       CTX-HK
136                                     9-9-21 Benlida monthly statement to                Δ-R/UP
D                                       CTX-HK
137                                     4-30-18 email from Alfredo More to                 Δ-R/UP
                                        Tracy re: “DHL Invoices
138                                     CTX Excel spreadsheet – Benlida                    Δ-R/UP
                                        proformas

139                                     ROK Payment Details CTX-US-HK                      Δ-R/UP
                                        2012-2018
140                                     Payment Schedule for ROK_US_HK                     Δ-R/UP
                                        Payment Detail Reconciliation
141                                     Screenshot index of Randall Paulikens’             π-R/UP
                                        Documents
142                                     Benlida vs CTX Accounting event                    π-R/UP
143                                     Summary – LTP data (Excel) [print                  Δ-R/UP
                                        out first page and mark it with
                                        placeholder]
144                                     Randall Paulikens’ Response Report                 Δ-H,
                                                                                           R/UP;
                                                                                           MIL
                                                                                           (DE
                                                                                           197)
145                                     Working Analysis – Table 7 and                     Δ-R/UP
                                        additional tables
146                                     Benlida Shipment & Payment Details                 Δ-R/UP
                                        CTX-HK 2012-2019.xlsx
147                                     KM Report [w/o exhibits]                           Δ-R/UP
                                                                                           π-R/UP
148                                     BLD Payment Details_CTX-US_2012-                   Δ- MIL
                                        2021_v.5 [print 1st page from email]               (DE
                                                                                           197)
                                                                                 Page 10 of 12 Pages
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149                                      “Benlida source for Complaint                    Δ-H
                                        12_1_20 (2).xlsx” – “EN tab”
149                                     “Benlida source for Complaint                     Δ-H
A                                       12_1_20 (2).xlsx” – “Inv Detail” tab
149                                     “Benlida source for Complaint                     Δ-H
B                                       12_1_20 (2).xlsx” – “Sheet 1” tab
150                                     1-10-18 list of 2017 shipment amounts             Δ-R/UP
                                        from BLD and ROK to CTX-HK
151                                     KM Docs Utilized Folder Trees                     π-R/UP
152                                     Docs Utilized List from KM Report                 Δ-R/UP
                                                                                          π-R/UP
153                                     BLD Payment Details CTX-US-
                                        V5_2012-2019 [previously marked
                                        exhibit 120] (“CTX Recon”)
154                                     2012-2019 Reconciliation Analysis                 Δ-R/UP
                                        2019.11.15 CCT
155                                     3-10-15 DM # ”0310” (one of the ones
                                        in KM’s judgmental set)
156                                     BLD Penalty for LT Exceedance
                                        Reports Nov. 2020
157                                     BLD Penalty for LT Exceedance
                                        Reports April 2020
158                                     BLD Shipment and Payment Details                  Δ-
                                        CTX-HK_2012-2019                                  R/UP;
                                                                                          MIL
                                                                                          (DE
                                                                                          197)
159                                     3-21-16 CTX Debit Memo
160                                     Oct. 20, 2013 CTX Debit Memo
161                                     9-12-14 CTX Debit Memo
162                                     Jules Jin & Co. 2021 Audit of CTX-                Δ-
                                        HK                                                R/UP;
                                                                                          MIL
                                                                                          (DE
                                                                                          198)
                                                                                          (#2)
163                                     Jules Jin & Co. 2022 Audit of CTX-                Δ-
                                        HK                                                R/UP;
                                                                                          MIL DE
                                                                                          198 (#2)
164                                     KM/Citrin Invoices                                Δ-R/UP
                                                                                          π-R/UP
165                                     BM Recent Testimony List from                     Δ-R/UP
                                        Report                                            π-R/UP
166                                     4-12-19 Benlida invoice to CTX (CCT-
                                        BLD-190412001)
167                                     8-6-19 Benlida invoice to CTX-HK                  Δ-R/UP
                                        (BLDCCT-HK19080602)
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*Include a notation as to the location of any exhibit not held with the case file or not available because of size.




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